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              6l,                             UNITED STATESDISTRICT COURT
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              8I UNITED STATESOFAMERICA,                           )
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              9I                Plaintiff'
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             10           v.                                       )            2:08-CR-309-JCM (PAL)
                                                                   )
             l1 ARYTOM M ATEVOSYAN,                                )
               I                                                   )
             12I
               Ij             Defcndant.                           )
               :!
             13                                 FIN A L O R DER O F FO RFEITU R E
             14           O n January 4,2011,the tlnited States D istrictCourtforthc D istrict ofN evada entered a
             15 Prelim inary OrderofForfeiturepursuantto Fed.R.Crim . P.32.
                                                                          2(b)(1)and(2);Title18,UnitedStatcs
             16 Code,Section982(a)(2)(B)andTitle 18,UnitedStatesCode,Section1029(c)(1)(C),baseduponthe
             17!g pleaofguilty by defendantARY'I'OM M ATEVOSYAN tothecriminaloffenses, forfeiting specilic I
               Ii                                                                                                                                 I
             18I propertyallegedin thelndictmentand shown bytheUnited Statestohavearequisitencxusto the :
             19 offenseto w hich defendantA lkY-f'oNlM A TEV OSYAN pled guilty. Thiscourtstruck the inpersonam '
                                                                                                                                                  )
             20 criminalfortbituremoneyjudgmentfrom thePreliminaryOrderofForlkiture.#1O7.
               I
             2l1
               iI         onJanuaryl8,2011,aproposedorderofIcorfeiturewassubmittedtothiscourt.//108.on ;
               l1                                                                                                                                 .
             22.
               j1 January 24,2011,an O rderDenying OrderofForfeiture w asentered, //113.
               rt
             2314          Fhis Courtfindsthe United StatesofAmericaoublished the notice ofthc l'orteiture in '
               ii                                                         '.
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             24 i
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                I accordance w ith the law via the officialgovernm ent internet forfeiture site, w'
                                                                                                  w w .lorfeiture.gov,
I              EI
             25'iconsecutivelyfrom January23,2011throughFebruary21, 2011,notifying a1lknow nthird partiesof
             26 theirrightto petition the Court # l17.
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             This Courtfindsno petition was 5led herein by oron behalfofany person orentity and the
     tim e fortiling such petitions and claim shas expired,
             ThisCoul'
                     tfindsno petitionsarepending with regard to the assetsnam ed herein and thetim e
     forpresenting such petitionshasexpired.
             TH EREFO RE,IT IS IIEREBY O RD ERED ,A DJUD GED ,A N D D ECREED thatallright,
     title,and interest in the property hereinatter described is condem ned,forfeited,and vested in the

     United StatesofAmericapursuantto Fed,R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P,
     32.2(c)(2);Title l8,United StatesCodc,Section 982(a)(2)(B)and Title 18,United StatesCode.
     Scction 1029(c)(1)(C);andTitle21,UnitedStatesCode,Section853(n)(7)andshallbedisposedof-
     aecording to Iaw :

                            a counterfeitcreditcard bearing the re-encoded m agnetic inform ation for a
                            C itibank M astercard accountnum berending in X -791l,
                                                                                 '                        t
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                            an in ersonum crim inalforfeiture        '         '     o       '     .      '

                                               ITCIICJ?.
             IT IS FU RTHER O RDERED,A DJU D GED ,AN D DECREED that any and allforfeited
     funds,including butnotlim ited to,eurrency,currency equivalents,Jertificatcs ofdeposit, asw ellas
     any incom ederived asaresultoftheU nited StatesofA m erica'sm anagem entot'any property forfbited
     herein,and the proceedsfrom the sale ofany forfeited property shallbedisposed ofaccording to law .
             The C lerk is hercby directed to send copies ofthis Orderto a1lcounselot-record and three
     certitied copicsto the Uniled tatesA ttorney's O fficc.N
             D A TED this    1 > dayof                            ,201l.
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                                                  t-JN l . STATES DISTRICT JU D GE
